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EXHIBIT A

 
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January 16, 2020

To: Brian Berson
Attorney at Law

Fr: Sonny Chayra
cis

Subject: Jose Arteaga-Vasquez

Re: Interview: Sonja Vasquez: 011-qqagayaaa

On 1/10/20, | conducted a telephone interview of Ms. Sonja Vasquez (“Sonja”) our
client adoptive mother who currently resides in Honduras. | identified myself as the
Private Investigator retained by the defense attorney representing the subject: Jose
Vasquez, (“Jose”) in the underlying criminal matter.

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Sonja stated that she and her husband Jose had legally adopted little Jose when he
was approximately 3 years old. Sonja stated that little Jose was 3 years old when
both his parents and siblings were murdered by a group of men. Sonja stated that
she does not know much about the murders and never really knew Jose’s birth
family, their names or family last name. Sonja stated that all she knew was that it
murders of Jose’s birth family to avenge the death of a member or members of
another family, possibly drugs were involved. Sonja stated that she was not familiar
with the facts and did not ask questions around the neighborhood for fear of
reprisal. Sonja stated however; that when Jose was still a very young child, he was
in the park, when a bunch of men (suspected killers of Jose’s birth family) came
around looking to kill little Jose. Sonja stated she heard about the death threats
and ran to the park, grabbed Jose and prevented these men from killing him (Jose).
Sonja stated that thereafter, the death threats toward Jose continued and
eventually, Jose at age 13-14 years of age, came to her and told her he was leaving
Honduras; fearful he was going to be killed.

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Sonja stated that Jose was always a very hard worked, handled many jobs at a very
young age. Sonja stated, Jose at that time had saved enough money and as well as
she (Sonja) gave him money and Jose fled Honduras at age 13-14. Sonja stated that
her own birth son, Roman subsequently followed and fled Honduras for the US and
hopefully a better life. Sonja stated that although she knew both sons where in the
US, she had no information as to what happened to them from the time they left
Honduras for the US. Sonja stated that she knew however; that both Jose and
Roman were working and that both of her sons would periodically send her money.

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Sonja stated that as a child through his teenage years Jose always suffered from
depression, and it became harder as he grew older and learned and understood
about the murders of his family. Sonja stated that Jose lived in constant fear that
the men who murdered his family would come and kill him as well. Sonja stated
that there were always rumors in the town and threats that he (Jose) was going to
eventually be killed. Sonja stated that she and her husband had legally adopted
Jose shortly after his parents and siblings were murdered.

Sonja stated that since her sons left for the US, her husband “Jose” eventually left
her and he (Jose) is currently involved with drugs. Sonja stated that she has been
left with two smaller children and she herself is not of good health. Sonja stated
that as a result of both her older sons being incarcerated in the US, (client, Jose and
his brother Roman), she no longer has‘any viable means of monetary support.
Sonja stated she is in a “bad way” and is worried about both of her sons. Sonja
stated she believes she still has the adoption papers for Jose but at this time she is

unable to locate them.

 

 
